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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 HANSEL AGUILAR,

                Plaintiff,

        v.                                           Civil Action No. 1:21-cv-00431-TNM

 DISTRICT OF COLUMBIA,

                Defendant.


                                   NOTICE OF SETTLMENT

       Plaintiff Hansel Aguilar and Defendant District of Columbia (the Parties) have reached

an agreement in principle that resolves all claims in this matter. After finalization of a written

settlement agreement, the Parties will file a joint stipulation of dismissal with prejudice under

Fed. R. Civ. P. 41(a)(1)(A)(ii).

Date: March 4, 2024                           Respectfully submitted,

                                              BRIAN L. SCHWALB
                                              Attorney General for the District of Columbia

                                              STEPHANIE E. LITOS
                                              Deputy Attorney General
                                              Civil Litigation Division

                                              /s/ Alicia M. Cullen
                                              ALICIA M. CULLEN [1015227]
                                              Chief, Civil Litigation Division, Section III

                                              /s/ Katrina Seeman
                                              KATRINA SEEMAN [1671729]
                                              Assistant Attorney General
                                              Civil Litigation Division
                                              400 6th Street, NW
                                              Washington, D.C. 20001
                                              Phone: (202) 724-6607
                                              Fax: (202) 724-5917
                                              Email: katrina.seeman@dc.gov
                                              Counsel for Defendant District of Columbia
